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 14
 15
                   IN THE UNITED STATES DISTRICT COURT
 16                  CENTRAL DISTRICT OF CALIFORNIA
                            WESTERN DIVISION
 17
 18   AKESO HEALTH SCIENCES, LLC,      )      Case No. 2:16-cv-07749 SJO (PJWx)
                                       )
 19             Plaintiff,             )      Hon. S. James Otero
 20                                    )
           v.                          )      MEMORANDUM OF POINTS
 21                                    )      AND AUTHORITIES IN
      DESIGNS FOR HEALTH, INC.,        )      SUPPORT OF MOTION FOR
 22
                                       )      EXCEPTIONAL CASE
 23             Defendant.                    DETERMINATION AND
                                       )
                                       )      AWARD OF ATTORNEYS' FEES
 24
                                       )
 25                                    )      Hearing
                                       )      Date: June 25, 2018
 26
                                       )      Time: 10:00 a.m.
 27                                           Ctrm: 10C
      ________________________________ )
 28
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  1    I.   INTRODUCTION
  2         Defendant Designs For Health, Inc. ("DFH") respectfully moves for an
  3
      order determining this case to be "exceptional" under 35 U.S.C. § 285, and
  4
  5   awarding DFH's costs and attorneys' fees in an amount to be determined or

  6   agreed upon following the resolution of this motion. DFH submits that this case
  7
      should be determined "exceptional" as being objectively unreasonable, on at
  8
  9   least the grounds of inadequate pre-suit investigation and oppressive purpose, as

 10   evidenced by the lack of substantive strength of plaintiff Akeso Health Sciences,
 11
      LLC's ("Akeso") litigation position.
 12
 13    II. BACKGROUND

 14         On October 18, 2016, Akeso brought this single Count action alleging
 15   both direct and indirect infringement of U.S. Patent No. 6,500,450 (the " '450
 16
      Patent") in connection with DFH's Migranol dietary supplement product.1 Akeso
 17
 18   sought damages, but no injunction. More than ten years earlier, by letter dated
 19
      April 18, 2006, Curt Hendrix (Chief Scientific Officer of Akeso and inventor of
 20
      the '450 Patent) accused DFH of infringing the '450 Patent and demanding that
 21
 22   DFH cease and desist manufacture, distribution, and sale of its Migranol dietary
 23
      supplement, as well as destroy all inventory, by May 1, 2006. An attorney for
 24
      DFH sent a response letter dated April 27, 2006 indicating that more time was
 25
 26   1
        The Court granted DFH's motion to dismiss as to the contributory infringement
 27   allegations under 35 U.S.C. § 271(c) in Akeso's First Amended Complaint,
      leaving allegations of direct and inducement of infringement remaining under
 28   35 U.S.C. §§ 271(a) and (b). See ECF No. 28.
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  1   needed to analyze the asserted patents. No further communications were
  2   exchanged between the parties until Akeso filed this action more than ten years
  3
      later on October 18, 2016.
  4
  5          In its Answer (ECF No. 32), DFH asserted a defense of equitable estoppel
  6   on the basis of the 2006 communications, and later moved for summary
  7
      judgment at the close of fact discovery as to several issues, including:equitable
  8
  9   estoppel; invalidity of the '450 Patent on the grounds of obviousness and non-
 10   enablement; and Akeso’s lack of entitlement to lost profits due to being neither
 11
      the valid owner nor exclusive licensee of the '450 Patent. See ECF No. 58. On
 12
 13   April 26, 2018, this Court granted summary judgment in DFH’s favor as to the
 14   issue of equitable estoppel. See ECF No. 88. The Court did not reach the
 15
      remaining issues set out in DFH’s Motion.
 16
 17    III. LEGAL STANDARDS
 18          "Section 285 of the Patent Act authorizes a district court to award
 19
      attorney's fees in patent litigation. It provides, in its entirety, that '[t]he court in
 20
 21   exceptional cases may award reasonable attorney fees to the prevailing party.' "

 22   Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1752
 23
      (2014) (quoting 35 U.S.C. § 285). Construing § 285, the Supreme Court held
 24
 25   that
 26          an "exceptional" case is simply one that stands out from others
 27          with respect to the substantive strength of a party’s litigating
             position (considering both the governing law and the facts of the
 28

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  1         case) or the unreasonable manner in which the case was litigated.
            District courts may determine whether a case is "exceptional" in
  2         the case-by-case exercise of their discretion, considering the
  3         totality of the circumstances.
  4   Id. at 1756 (footnote omitted).

  5         In making such a determination, "there is no precise rule or formula" to
  6
      be followed; rather, the Court should use its "equitable discretion" in light of the
  7
  8   above considerations. See id. (quoting Fogerty v. Fantasy, Inc., 510 U.S. 517,

  9   534 (1994)); see also id. at n.6 (In making this determination, district courts may
 10
      "consider a 'nonexclusive' list of 'factors,' including 'frivolousness, motivation,
 11
 12   objective unreasonableness (both in the factual and legal components of the

 13   case) and the need in particular circumstances to advance considerations of
 14
      compensation and deterrence.' " (internal citation omitted)).
 15
 16         In Octane Fitness, the Supreme Court rejected the Federal Circuit’s

 17   requirement that patent litigants establish their entitlement to fees under § 285
 18
      by "clear and convincing evidence," as set forth in Brooks Furniture Mfg., Inc.
 19
 20   v. Dutailier Int’l, Inc., 393 F.3d 1378, 1382 (2005). "Section 285 demands a

 21   simple discretionary inquiry; it imposes no specific evidentiary burden, much
 22
      less such a high one. Indeed, patent infringement litigation has always been
 23
 24   governed by a preponderance of the evidence standard[.]" Octane Fitness at
 25   1758 (citing Bene v. Jeantet, 129 U.S. 683, 688 (1889)).
 26
            Moreover, in note 4 of Octane Fitness, the Supreme Court cited with
 27
 28   approval the approach taken by the Court of Appeals for the Federal Circuit in

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  1   the Kilopass Technology case:
  2         [T]he Federal Circuit appeared to cut back on the "subjective bad
  3         faith" inquiry, holding that the language in iLOR was dictum and
            that "actual knowledge of baselessness is not required."[Kilopass
  4         Technology, Inc., v. Sidense Corp.,]783 F.3d [1302 (Fed. Cir.
  5         2013)], at 1310. Rather, the court held, "a defendant need only
            prove reckless conduct to satisfy the subjective component of the §
  6         285 analysis,"ibid. and courts may "dra[w] an inference of bad faith
  7         from circumstantial evidence thereof when a patentee pursues
            claims that are devoid of merit,"id, at 1311. Most importantly, the
  8         Federal Circuit stated that "[o]bjective baselessness alone can
  9         create a sufficient inference of bad faith to establish
            exceptionality under § 285, unless the circumstances as a whole
 10         show a lack of recklessness on the patentee’s part."(emphasis
 11         added). Id., at 1314.
 12         "As we made clear in Highmark, Inc. v. Allcare Health Management, 687
 13
      F.3d 1300 (Fed. Cir. 2012), subjective bad faith only requires proof that the
 14
 15   "lack of objective foundation for the claim 'was either known or so obvious that

 16   it should have been known' by the party asserting the claim."Highmarkat 1309
 17
      (emphases added) (quoting In re Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed.
 18
 19   Cir. 2007) (en banc)). Thus, actual knowledge of baselessness is not required.

 20   Like a plaintiff seeking to recover attorneys' fees under § 285 based on alleged
 21
      willful infringement, a defendant need only prove reckless conduct to satisfy the
 22
 23   subjective component of the § 285 analysis. [Citations omitted]." Kilopass
 24   Technology, Inc., v. Sidense Corp., 783 F.3d 1302, 1310 (Fed. Cir. 2013).
 25
            "Brooks Furniture [Mfg., Inc. v. Dutailier Int’l, Inc.] thus did nothing to
 26
 27   discourage courts from drawing an inference of bad faith from circumstantial
 28

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  1   evidence thereof when a patentee pursues claims that are devoid of merit.
  2   Factors such as the failure to conduct an adequate pre-suit investigation… or an
  3
      oppressive purpose are factors which can be indicative of bad faith." Id. at 1311.
  4
  5         Section 285 is remedial and its aim is to compensate a [party] for
  6   attorneys’ fees it should not have been forced to incur. Id. at 1313. See also,
  7
      Highmark, 687 F.3d at 1310 (stating that § 285 "is remedial and for the purpose
  8
  9   of compensating the prevailing party for the costs it incurred in the prosecution
 10   or defense of a case where it would be grossly unjust ... to require it to bear its
 11
      own costs.")
 12
 13    IV. ARGUMENT
 14            a. Akeso's Subjective Bad Faith is Shown by its Failure to
 15               Conduct an Adequate Pre-Suit Investigation

 16         As acknowledged by this Court in its Order granting DFH’s Motion for
 17
      Summary Judgment on the issue of equitable estoppel, Akeso - through its Chief
 18
      Scientific Officer and inventor of '450 Patent, Curt Hendrix - knew of the April
 19
 20   18, 2006 cease and desist letter to DFH accusing DFH of infringing the '450
 21
      Patent ("Hendrix Cease and Desist Letter"). See ECF No. 88 at pp. 1-2.2 As
 22
      further acknowledged by this Court, an attorney for DFH sent a response letter
 23
 24   dated April 27, 2006 ("DFH Response Letter") indicating that more time was
 25
      2
 26     In its Order granting DFH’s Motion for Summary Judgment, the Court noted
 27   the lack of plausible interpretation that Hendrix’s position, as outlined in the
      April 18, 2006 letter, was non-adversarial, as the threat of litigation was implied
 28   heavily throughout. See ECF No. 88 at p. 5.
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   1   needed to analyze the asserted patents, and after DFH failed to meet its self-
   2   imposed extended deadline to respond to Hendrix’s cease-and-desist letter, no
   3
       further communications were exchanged between the parties until Akeso filed
   4
   5   this action over ten years later on October 18, 2016. See ECF No. 88 at p. 2.3
   6         DFH first gave notice of its equitable estoppel defense on March 13, 2017
   7
       in its Answer to Akeso’s First Amended Complaint. See ECF No. 32. On March
   8
   9   27, 2017, immediately subsequent to the Court’s Rule 26(f) Scheduling
  10   Conference, counsel for DFH provided Akeso’s counsel, in person, with copies
  11
       of the Hendrix Cease and Desist Letter and DFH Response Letter, and discussed
  12
  13   in detail the basis of DFH’s equitable estoppel defense. Peterson Decl. ¶5; Exs.
  14   2, 3. DFH then followed-up with Bates-stamped copies of the Hendrix Cease
  15
       and Desist Letter and DFH Response Letter in response to Akeso’s document
  16
  17   production requests on May 30, 2017. Peterson Decl. ¶6; Ex. 4. Akeso produced
  18
       its own independent copies of the letters in response to DFH’s production
  19
       requests on August 18, 2017, thus admitting that it had possession of the 2006
  20
  21   correspondence all along. Peterson Decl.¶7; Ex. 5.
  22
             DFH's counsel provided in detail its evidence of equitable estoppel in a
  23
       letter to Akeso’s counsel of October 18, 2017 (Peterson Decl. ¶8; Ex. 6), to
  24
  25   3
         The Court further noted in its Order that the suit for infringement was delayed
  26   for over ten years, and that there is "nothing on the record that would support an
  27   inference by DFH that the delay was tactical in nature," and thus Akeso’s failure
       to preserve over four years of potential lost profits was reasonably interpreted
  28   by DFH as an abandonment of its claims. See ECF No. 88 at p. 5.
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   1   which Akeso’s counsel responded by letter dated October 24, 2017 4 and
   2   admitted Akeso's long silence after Hendrix's adversarial demand in the 2006
   3
       Cease and Desist Letter, i.e., "Akeso's long-ago notice of infringement."
   4
   5   Peterson Decl. ¶9. The letter however denied equitable estoppel on the basis of
   6   so-called "controlling authority" under the Petrella case that there must be
   7
       "intentionally misleading representations." The letter cited no controlling
   8
   9   Federal Circuit law in patent cases.5
  10         Contrary to Akeso’s assertions in its October 24, 2017 letter, "controlling
  11
       authority" of the Federal Circuit under Aukerman in fact is not limited to
  12
  13
       4
  14     Akeso’s October 24, 2017 letter was designated as a "Confidential Settlement
       Communication – Subject to FRE 408;" however it is not being offered by DFH
  15
       for this purpose. DFH respectfully submits that the letter is admissible under an
  16   exception to FRE 408 where it is "offered for another purpose," as it is here to
       show notice and subjective bad faith on the part of Akeso as to DFH’s equitable
  17
       estoppel defense. See U.S. v. Austin, 54 F.3d 394 (1995) ("While Federal Rule
  18   of Evidence 408 prohibits the admission of statements made in the course of
  19   settlement to prove liability and Rule 404(b) prohibits the admission of other
       wrongs in order to show action in conformity therewith, both rules allow the
  20   admission of such evidence when offered for another purpose.") See also, Athey
  21   v. Farmers Ins. Exchange, 234 F.3d 357 (2000). As the October 24, 2017 letter
       has been designated as confidential by Akeso, DFH has cited only to the
  22   relevant non-confidential portions herein and is not offering the full letter as an
  23   Exhibit at this time; however, DFH can submit the letter "under seal" if the
       Court finds the letter necessary for deciding this Motion.
       5
  24      In its October 24, 2017 letter, Akeso further misapplies the standard for
  25   equitable estoppel set out by the Federal Circuit in Aukerman, alleging that
       "Akeso's long-ago notice of infringement" fails to support DFH’s equitable
  26   estoppel defense but rather is evidence that "DFH was willfully blind to the
  27   likelihood that it was infringing" in the intervening ten years since the 2006
       correspondence, and "as such is liable for willful infringement." Peterson Decl.
  28   ¶9.
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   1   "intentionally misleading representations," but rather can be a period of long
   2   silence after adversarial demand, plus detrimental reliance and material
   3
       prejudice, as acknowledged by this Court in its Order granting summary
   4
   5   judgment on the issue of equitable estoppel. See ECF No. 88 at pp. 3-5.
   6          Akeso acknowledged as much in its Opposition Brief to DFH’s Motion
   7
       for Summary Judgment, never even citing the so-called "controlling authority"
   8
   9   under the Petrella case and its supposed requirement of "intentionally
  10   misleading representations," as set forth in its October 24, 2017 letter. Rather,
  11
       Akeso acknowledged that Aukerman is the leading case for equitable estoppel,
  12
  13   and that silence can be the basis for an equitable estoppel defense. ECF No. 65
  14   at p. 5.
  15
              Moreover, Akeso never presented any evidence in its Opposition Brief to
  16
  17   refute DFH's evidence of detrimental reliance and material prejudice. Akeso’s
  18
       objectively baseless position on the issue of equitable estoppel was further
  19
       undermined by Hendrix, as Akeso’s Rule 30(b)(6) witness, admitting at
  20
  21   deposition that he put DFH on notice of infringement by his 2006 cease-and-
  22
       desist letter, and further admitting that he knew of DFH's continued sale of
  23
       Migranol from 2006 on, and that he intentionally did nothing after the 2006
  24
  25   cease-and-desist letter because he had "put them on notice." Peterson Decl., Ex.
  26
       1, Hendrix Dep. at 79:4-15, 82:6-9, 83:9-84:25.
  27
              Akeso knew it had no rebuttal to DFH’s evidence of detrimental reliance
  28

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   1   and material prejudice and, further, never even took any deposition of DFH
   2   during fact discovery. Peterson Decl. ¶10. Akeso’s conduct in litigating this case
   3
       in the face of substantial evidence that supported DFH’s equitable estoppel
   4
   5   position, including that of the testimony of Akeso’s own witness, was
   6   objectively unreasonable.6
   7
             Had Akeso performed an adequate pre-suit investigation, at least of its
   8
   9   own easily-obtainable evidence – i.e., questioned its own Officer and inventor
  10   of the '450 Patent (Curt Hendrix), and reviewed its own independently-produced
  11
       copies of the Hendrix Cease and Desist Letter and DFH Response Letter, it
  12
  13   would have discovered the weak nature of its case, particularly that any
  14   requested relief would be barred under the doctrine of equitable estoppel, and
  15
       likely not filed suit. Bayer, 851 F.3d at 1307. See also Lumen View Tech, LLC v.
  16
  17   Findthebest.com, Inc., 811 F.3d 479, 481-483 (Fed. Cir. 2016)(stating that pre-
  18
       suit diligence is correctly viewed as a factor in the totality-of-the-circumstance
  19
       approach in § 285 determinations.)
  20
  21         At the very least, Akeso should have known by the time of its October 24,
  22
       2017 letter that its position was untenable, as interrogatory responses and
  23
       6
  24     See Bayer Cropscience AG v. Dow Agrosciences LLC, 851 F.3d 1302, 1306
  25   (Fed. Cir. 2017)(finding that the district court did not abuse its discretion in
       finding that the positions Bayer took to support their arguments were directly
  26   contradicted by the record evidence Bayer had obtained through early discovery
  27   and that Bayer should have made every effort to discover before filing suit, such
       that "Bayer marched onward with a view of its case that was not supported by
  28   its witnesses." Fees Op., 2015 WL 1197436, at *9).
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   1   responses to requests for production, as well as responses to requests for
   2   admissions, had already been exchanged. Nevertheless, Akeso marched onward
   3
       with its case and advanced arguments that were directly contradicted by the
   4
   5   record evidence Akeso had obtained through early discovery and that Akeso
   6   should have made every effort to discover before filing suit. Bayer, 851 F.3d at
   7
       1306.
   8
   9              b. Akeso's Subjective Bad Faith is Further Shown by its
                     Commencement of this Action for an Oppressive Purpose
  10
  11           DFH has long been a direct competitor, along with many other entities, of

  12   Akeso in the sale of dietary and nutritional supplements. Akeso filed at least
  13
       nine actions (including the instant case) for patent infringement since June 7,
  14
  15   2016, approximately two years before the expiration of the '450 Patent on June

  16   25, 2018. At least eight of these actions were filed in 2016 alone. See Hendrix
  17
       Decl. ¶16, ECF No. 69. According to publicly available court records, Akeso
  18
  19   either voluntarily dismissed, or jointly stipulated to dismissal of, all eight of the

  20   other cases asserting infringement of the '450 Patent, presumably on the basis of
  21
       settlement for a nominal cash payment as compared to the average cost for
  22
  23   patent litigation through trial. Two of these cases were dismissed within one
  24   month of filing, and all eight cases were dismissed within approximately one
  25
       year.
  26
  27           DFH submits that Akeso never intended to litigate this case through trial,
  28

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   1   and that Akeso brought this case (along with a flurry of other litigation) for the
   2   sole purpose of extracting a quick settlement from DFH as a final attempt by
   3
       Akeso to capitalize monetarily on a dubious patent which should never have
   4
   5   issued, prior to the patent’s expiration in June 2018. See DFH’s Motion for
   6   Summary Judgment, ECF No. 58. Akeso filed its patent infringement action
   7
       against DFH in the Central District of California, taking advantage of a now-
   8
   9   discredited reading of the venue statute to drag DFH into a venue across the
  10   country from its main offices in Connecticut and state of incorporation in
  11
       Florida. Akeso's Complaint never even requested an injunction, suggesting that
  12
  13   Akeso knew that the '450 Patent would likely expire by the time the case came
  14   to trial.
  15
              Moreover, this Court in its Order granting DFH’s Motion for Summary
  16
  17    Judgment found that in connection with Akeso's claim brought more than ten
  18
        years after its initial 2006 cease-and-desist letter, the "facts indicate more
  19
        strongly that Akeso saw a market opportunity to resuscitate its previously
  20
  21    abandoned claims in order to capitalize on DFH's stronger revenues."
  22
        (emphasis in original). See ECF No. 88 at p. 6.
  23
              It is clear that Akeso brought this action hoping for a quick settlement for
  24
  25   alleged high "lost profits" damages, as well as a claim for treble damages based
  26
       on an allegation of willfulness for which it could offer no evidentiary support.
  27
       See First Amended Complaint ("FAC"), Prayer for Relief ¶¶C, D, E (ECF No.
  28

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   1   23). However, Akeso knew (or should have known) that it had no basis for any
   2   such lost profits damages since it could not prove the absence of acceptable non-
   3
       infringing substitutes, nor that demand for its Migre-Lief® product is driven by
   4
   5   the patented composition. Panduit Corp. v. Stahlin Bros. Fibre Works, Inc., 575
   6   F.2d 1152, 1156 (6th Cir. 1978); Bic Leisure Profits v. Windsurfing, 1 F.3d
   7
       1214 (Fed. Cir. 1993).
   8
   9            i.   Akeso had no evidence that demand for the patented product
                     was driven by the presence of the patented composition
  10
  11         Akeso had been expected to offer Curt Hendrix, its Chief Scientific

  12   Officer and inventor of the '450 Patent, as its expert witness at trial as to
  13
       damages, including lost profits. As part of his Panduit analysis in his Expert
  14
  15   Report, Hendrix summarily, and without additional objective evidentiary

  16   support, states that the patented combination of a therapeutically effective
  17
       amount of parthenolide, riboflavin, and magnesium provided as a salt of an
  18
  19   organic acid, is the reason why migraine sufferers purchase Akeso’s

  20   MigreLief® product, and that demand for the product is established beyond
  21
       dispute by Akeso’s sales figures since 2010. Peterson Decl., Ex. 8, Hendrix
  22
  23   Report, ¶¶21-22. See also ECF No. 81-7.
  24         This was contradicted by Hendrix's deposition testimony, where as
  25
       Akeso’s Rule 30(b)(6) witness, he testified that customers may purchase
  26
  27   MigreLief® because it contains proprietary PURACOL brand feverfew, and
  28

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   1   that customers might purchase MigreLief® over competitors because of it.
   2   Peterson Decl., Ex. 1, Hendrix Dep. at 35:10-36:2.
   3
             The migraine dietary supplement market in which Akeso (and DFH)
   4
   5   competes is unregulated, highly competitive, and has very low barriers to entry,
   6   and includes tens - if not hundreds - of manufacturers. Hendrix, in his Expert
   7
       Report, references no surveys, objective expert opinions, or other statistically
   8
   9   reliable data establishing what drives demand for dietary supplements that claim
  10   to treat migraine headaches. Hendrix further testified at deposition that Akeso
  11
       has not surveyed any of its MigreLief® customers (Peterson Decl., Ex. 1,
  12
  13   Hendrix Dep. at 40:8-24). Therefore, neither Hendrix nor Akeso can point to
  14   any objective evidence as to why customers choose MigreLief® over other
  15
       dietary supplements, or whether customers find MigreLief® effective.
  16
  17   Moreover, it is undisputed that Akeso is not permitted to state or claim in its
  18
       marketing or advertising materials for MigreLief® the sole benefit of the
  19
       patented composition of asserted claim 16 of the '450 Patent, i.e., reducing the
  20
  21   symptoms of migraine headache, under the Dietary Supplement Health and
  22
       Education Act (see, e.g., 21 U.S.C. §343(r)(6)). See DFH’s Statement of
  23
       Genuine Disputes of Additional Material Fact ("SDAF"), ECF No. 75, ¶84; See
  24
  25   also Peterson Decl., Ex. 1, Hendrix Dep. at 29:23-30:4. Therefore, the economic
  26
       benefit of the patented composition is unknown, and at best, purely speculative.
  27
       As such, Akeso could not prove that the "demand" for MigreLief® is any less
  28

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   1   attributable to its packaging, price, channels of availability for purchase,
   2   anecdotal evidence of effectiveness, confusion with other products, or pure
   3
       chance, than that of its patented composition.
   4
   5         Further still, Hendrix testified at deposition that Akeso has not done any
   6   testing of MigreLief® to determine whether it is effective for reducing the
   7
       symptoms of migraine headache, or whether MigreLief® is any more effective
   8
   9   than other migraine dietary supplements on the market, or made any surveys of
  10   customers, and any evidence thereof is purely anecdotal. Peterson Decl., Ex. 1,
  11
       Hendrix Dep. at 39:8-40:24.
  12
  13         As shown by the evidence, or lack thereof, produced during discovery in
  14   this case, Akeso knew at the time it filed suit that it could not offer any evidence
  15
       that demand for its Migre-Lief® product is driven by the patented composition,
  16
  17   and therefore it knew (or should have known) that its demand for such excessive
  18
       lost profits damages was objectively baseless.
  19
               ii.   Akeso could not prove the absence of acceptable non-
  20
                     infringing substitutes
  21
             Element 2 of the traditional Panduit test for eligibility for lost profits is
  22
  23   that the plaintiff must prove "the absence of acceptable non-infringing
  24   substitutes." In his Expert Report as to damages, Hendrix defines the market for
  25
       MigreLief® as consisting only of products containing the patented composition,
  26
  27   and asserts that Akeso is therefore entitled to lost profits for each and every sale
  28

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   1   of DFH’s Migranol supplement from October 18, 2010 through trial. Peterson
   2   Decl., Ex. 8, Hendrix Report, ¶¶6, 23-24, 28. Notwithstanding that the market as
   3
       defined by Hendrix excludes the various other entities against which Akeso has
   4
   5   asserted the '450 Patent since June 2016 (Hendrix Decl. ¶16, ECF No. 69), all
   6   entities which presumably should be included in the market, Hendrix
   7
       improperly narrowly construed the relevant market by excluding other dietary
   8
   9   supplements that claim to treat migraines. If "reasonably acceptable non-
  10   infringing substitutes" can be limited only to products that infringe the patent,
  11
       the Panduit test is automatically wiped out. By definition, there can be no
  12
  13   reasonably acceptable non-infringing substitutes, because the market as defined
  14   by Hendrix consists only of products that practice the patent.
  15
             Curiously, at his Rule 30(b)(6) deposition on behalf of Akeso, Hendrix
  16
  17   had a contradictory opinion as to the market. He testified that performing an
  18
       internet search for "migraine supplements" would produce search results in
  19
       which all listed products are competitive products to MigreLief®. Peterson
  20
  21   Decl., Ex. 1, Hendrix Dep. at 24:18-25:4. Moreover, Hendrix testified that there
  22
       are at least ten and "probably not" more than fifty competitive products to
  23
       MigreLief® on the market, and that many of the competitive products contain
  24
  25   some combination of at least two of the ingredients in the patented composition.
  26
       Hendrix Dep. at 34:24-35:9, 36:3-24,Ex. 1. It is clear from Hendrix's conflicting
  27
       positions that Hendrix's lost profits testimony - the only evidence submitted by
  28

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   1   Akeso as to lost profits other than its sales figures - fails the second element of
   2   the Panduit test.
   3
             In the modern softened version of the Panduit test, where there are
   4
   5   reasonably acceptable non-infringing substitutes for the patented product on the
   6   market, the best a plaintiff can do is recover lost profits on its proportionate
   7
       share of sales in the actual market for the patented product, taking price into
   8
   9   consideration and the reasonably acceptable substitutes. State Industries v. Mor-
  10   Flo Indus., 883 F.2d 1573, 1578 (Fed Cir. 1989). "This market share approach
  11
       allows a patentee to recover lost profits despite the presence of acceptable, non-
  12
  13   infringing substitutes, because it nevertheless can prove with reasonable
  14   probability sales it would have made ‘but for’ the infringement." Bic Leisure
  15
       Profits, supra, at 1219.
  16
  17         In contrast to State Industries, where the absolute superiority of foam’s
  18
       insulating performance made fiberglass unacceptable, Hendrix in his Expert
  19
       Report confuses the specific composition of the '450 Patent as the "advantage"
  20
  21   that motivates purchasers to insist on dietary supplements with the patented
  22
       composition, instead of examining whether other competitors were meeting the
  23
       demand for non-prescription dietary supplements for treating or reducing the
  24
  25   symptoms of migraine headaches. Hendrix compounds this error by assuming
  26
       that every sale of MigreLief® is proof that Akeso’s customers would be
  27
       satisfied only with a dietary supplement with the patented composition. Peterson
  28

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   1   Decl., Ex. 8, Hendrix Report,¶¶19, 21, 23-24. This logic is completely circular,
   2   and is unsupported by any evidence that a reasonable expert would accept, or
   3
       that the law would allow.
   4
   5         The objective proof of whether an item is an acceptable substitute must
   6   ultimately be grounded in market behavior. BicLeisure Profits, supra, at 1220.
   7
       In his Expert Report, Hendrix simply assumes his own conclusion: his only
   8
   9   empirical evidence is the gross dollar and unit sales, and profit margin of
  10   Akeso’s sales of MigreLief®. Yet, Hendrix testified that there could be as many
  11
       as fifty competitive products to MigreLief® in the market, and further testified
  12
  13   that Akeso doesn't know its market share. Peterson Decl., Ex. 1, Hendrix Dep. at
  14   34:11-23.
  15
             Akeso never did any testing of MigreLief® to determine whether it is
  16
  17   effective for reducing the symptoms of migraine headache, or whether
  18
       MigreLief® is any more effective than other migraine dietary supplements on
  19
       the market, or made any surveys of customers, or produced any objective
  20
  21   evidence to establish what drives demand for dietary supplements that claim to
  22
       treat migraine headaches. Therefore, the only evidence Akeso could offer as to
  23
       the absence of acceptable non-infringing substitutes is Akeso’s MigreLief®
  24
  25   sales, which are simply not probative of demand for the patented composition
  26
       without a comparison of the sales volume of other competitors in the migraine
  27
       dietary supplement market.
  28

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   1         The patented composition of the '450 Patent was an alleged improvement
   2   on existing migraine treatments which had been available for decades, if not
   3
       longer, and was a composition comprising three compounds already separately
   4
   5   known for their positive effects on migraine treatment (i.e., parthenolide,
   6   riboflavin, and magnesium salt of an organic acid), not an entirely new product.
   7
       There is no evidence of a surge in sales toward Akeso when Migre-Lieve (the
   8
   9   precursor to MigreLief®) entered the market, and away from other migraine
  10   treatment dietary supplements already in existence. Moreover, Akeso could
  11
       produce zero evidence of demand for Akeso’s patented composition, as
  12
  13   embodied in the MigreLief® product, in comparison with other readily available
  14   dietary supplements for migraine treatment. Akeso thus could not prove the
  15
       absence of acceptable non-infringing substitutes to its Migre-Lief® product, a
  16
  17   prerequisite to its claim of entitlement to lost profits.7
  18
             Akeso’s inability to produce any evidence of the absence of acceptable
  19
       non-infringing substitutes for its MigreLief® product, or any evidence at all as
  20
  21   to lost profits other than the inconsistent testimony of its own witness, further
  22
       bolsters DFH’s assertion that Akeso’s demand for excessive lost profits
  23
       damages was objectively baseless, and that the true basis for this case was an
  24
  25   attempt to extract a quick settlement from DFH.
  26
       7
  27    Despite Akeso’s assertion in its October 24, 2017 letter that it had "substantial
       evidence that non-infringing alternatives are not acceptable to the relevant
  28   customers,"Akeso failed to ever produce such evidence.
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   1             c. DFH is Entitled to its Attorneys' Fees and Costs that it would
                    not have Incurred "but for" Akeso’s Bad Faith Conduct
   2
   3          A trial court, when using its inherent or statutory authority to grant

   4    attorneys’ fees to a prevailing party, must first establish a causal link. "The
   5
        complaining party…may recover 'only the portion of his fees that he would not
   6
   7    have paid but for' " the misconduct. See Goodyear Tire & Rubber Co. v.

   8    Haeger et al., 581 U.S. ____, at p. 7. (2017) (citing Fox v. Vice, 563 U.S. 826,
   9
        836 (2011)). "In exceptional cases, the but-for standard even permits a trial
  10
  11    court to shift all of a party’s fees, from either the start or some midpoint of a

  12    suit, in one fell swoop." Id. at p. 8.
  13
              The objectively unreasonable nature of this case, evident at least from
  14
  15    Akeso’s inadequate pre-suit investigation as to the issue of equitable estoppel,

  16    entitles DFH to reasonable attorneys’ fees and costs from the outset of
  17
        litigation in October 2016. Had Akeso performed an adequate pre-suit
  18
  19    investigation of its own easily-obtainable evidence, it would have discovered

  20    that any requested relief would be barred under the doctrine of equitable
  21
        estoppel, as ultimately found by this Court, and likely not filed suit. Instead,
  22
  23    Akeso proceeded with its case and advanced arguments that were directly
  24    contradicted by the record evidence Akeso had obtained through early
  25
        discovery and that Akeso should have made every effort to discover before
  26
  27    filing suit. As a result, DFH was forced to expend significant costs and fees
  28

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   1    over the course of 18 months to defend a case which should never have been
   2    brought in the first place.
   3
              At a minimum, DFH is entitled to its costs and fees from August 18, 2017
   4
   5    on, at which time Akeso produced its own independent copies of the Hendrix
   6    Cease and Desist Letter and DFH Response Letter in response to DFH’s
   7
        production requests, thus admitting that it had possession of the 2006
   8
   9    correspondence all along and acknowledging that it was (or should have been)
  10    aware of the evidence fatal to its position on the issue of equitable estoppel. See
  11
        Goodyear Tire & Rubber Co., 581 U.S. ____, at pp. 8-9.
  12
  13    V. CONCLUSION
  14          Akeso’s subjective bad faith in bringing this action is evident from its
  15
       failure to conduct an adequate pre-suit investigation, at a minimum of its own
  16
  17   easily-obtainable evidence, which would have revealed the strength of DFH’s

  18   equitable estoppel defense which the Court found to be meritorious. The
  19
       objectively unreasonable nature of this case is further evidenced by the lack of
  20
  21   substantive strength of Akeso’s litigation position with respect to its demand for

  22   excessive lost profits damages, for which it submitted no objectively reliable
  23
       evidence. As such, DFH respectfully submits that this case should be
  24
  25   determined "exceptional" as being objectively unreasonable when filed, and that
  26   DFHbe awarded its costs and attorneys' fees in an amount to be determined.
  27
  28

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   1                                  Respectfully submitted,
   2                                  DeLIO, PETERSON & CURCIO, LLC
   3
       Dated: May 16, 2018            By: _/s/Peter W. Peterson_______________
   4                                      Peter W. Peterson
   5
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   1                        CERTIFICATE OF SERVICE
   2
               I am a citizen of the United States and employed in New Haven
   3    County, Connecticut. I am over the age of eighteen years and not a party
   4    to the within-entitled action. My business address is 700 State Street, New
        Haven, Connecticut 06511. On May 16, 2018, I served a copy of the
   5    within document(s):
   6
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
   7        DEFENDANT’S MOTION FOR EXCEPTIONAL CASE
   8       DETERMINATION AND AWARD OF ATTORNEYS' FEES
   9                (BY MAIL) by placing the document(s) listed above in a
  10                sealed envelope with postage thereon fully prepaid, the
                    United States mail at New Haven, Connecticut addressed
  11                as set forth below, and
  12
                    (BY E-MAIL) by transmitting via e-mail or electronic
  13                transmission the document(s) listed above to the person(s) at
  14                the e-mail address(es) set forth below.
  15                     Shawn G. Hansen (SBN 197033)
  16                     shansen@nixonpeabody.com
                         NIXON PEABODY LLP
  17
                         300 S. Grand Avenue, Suite 4100
  18                     Los Angeles, CA 90071-3151
  19
              I am readily familiar with the firm's practice of collection and
  20    processing correspondence for mailing. Under that practice it would be
        deposited with the U.S. Postal Service on that same day with postage
  21
        thereon fully prepaid in the ordinary course of business. I am aware that
  22    on motion of the party served, service is presumed invalid if postal
        cancellation date or postage meter date is more than one day after date of
  23
        deposit for mailing in affidavit.
  24
               I declare under penalty of perjury under the laws of the United
  25
        States of America that the foregoing is true and correct. Executed on May
  26    16, 2018, at New Haven, Connecticut.
  27
  28

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